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EXHIBIT 7
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In the Matter of:
Joseph Mantha vs

Quotewizard.com, LLC

Melisa Mantha
September 11, 2020

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Quotewizard.com, LLC September 11, 2020

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1 UNITED STATES DISTRICT COURT 1 INDEX
2 FOR THE DISTRICT OF MASSACHUSETTS 2 Deposition of: Direct
3 xX 3° MELISA MANTHA
4 JOSEPH MANTHA, ON BEHALF OF HIMSELF AND 4 By Ms, Kingston 5
5 ALL OTHERS SIMILARLY SITUATED, 5
6 Plaintiff, 6
Tov. No. 1:19-ev-12235-LTS 7
8 QUOTEWIZARD.COM, LLC, 8
9 Defendant. 9
10 10
ll 11
12 12
13 DEPOSITION OF MELISA MANTHA, a witness 13
14 called on behalf of the Defendant, taken 14
15 remotely pursuant to the provisions of the 15
16 Massachusetts Rules of Civil Procedure, 16
17 before Linda Bemis, a Registered l7
18 Professional Reporter and Notary Public in 18
19 and for the Commonwealth of Massachusetts, 19
20 held in Boston, Massachusetts, on Friday, 20
21 September 11, 2020, commencing at 2:00 p.m. 21
22 22
23 23
24 24
Page 2 Page 4
1 APPEARANCES: 1 PROCEEDINGS
2 2 THE STENOGRAPHER: This is Linda

3 NELSON, MULLINS, RILEY & SCARBORGUGH
4 By Christine M. Kingston, Esq.

One Post Office Square

Boston, Massachusetts 02109

5

6

7 Counsel for the Defendant

8  christine.kingston(nelsonmullins.com
9

10 LAW OFFICE OF EDWARD A. BRODERICK
11 By Edward A. Broderick, Esq.

12 208 Ridge Street

13 Winchester, Massachusetts 01890

14 Counsel for the Plaintiff

15 Ted@@broderick-law.com

17 (Present via Zoom)

3 Bernis, a Registered Professional Reporter
4 and Notary Public in the Commonwealth of
5 Massachusetts.

6 This deposition is being taken

7 remotely. The witness is appearing remotely
8 from Rutland, Massachusetts.

9 The attorneys participating in

10 this proceeding acknowledge their

11 understanding that I am no physically

12 present in the proceeding room, nor am [

13. physically present with the witness and that
14 | will be reporting this proceeding

15 remotely. They further acknowledge that in
16 lieu of an oath administered in person, the
17 witness will verbally declare his testimony
18 in this matter under the pains and penalties
19 of perjury. The parties and their counsel

20 consent to this arrangement and waive any
21 objections to this manner of proceeding.

22 Please indicate your agreement by
23 stating your name and your agreement on the

24 record, after which I will swear in the

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1 witness. 1 Q. You understand you're under oath here today?
2 MS. KINGSTON: Christine Kingston 2 A. Yes.

3 on behalf of the Defendant. 3 Q. And that means that you're obligated to

4 MR. BRODERICK: Edward Broderick on 4 answer my questions fully and truthfully?

5 behalf of the plaintiff and the witness, 5 A. Yes.

6 Melisa Mantha. I agree. 6 Q. Have you ever been deposed before?

7 (Witness sworn.) 7 A. No.

8 8 Q. Are you represented by an attorney?

9 DIRECT EXAMINATION 9 A. Yes.
10 BY MS. KINGSTON: 10 Q. And who is your attorney?
11 Q. Good afternoon. Is it okay if I call you ll A. Mr. Broderick.
12 Ms. Mantha? 12 MS. KINGSTON: Can we go off the

13. A. Sure. 13 record for just one minute.
14 Q. As you just heard, my name is Christine 14 MR. BRODERICK: Sure.
15 Kingston. I represent the defendant in this 15 (Off the record discussion.)
16 case and will be taking your deposition 16 Q. So, Ms. Mantha, I just asked you if you had
17 today. 17 an attorney and you indicated Mr. Broderick.
18 Just to start off, I wanted to get 18 And off the record, Mr. Broderick and I

19 some stipulations on the record. 19 spoke and he indicated that he is
20 Ted, same as last time -- all 20 representing you with respect to the
21 objections besides as to form reserved until 21 subpoena issued on you; is that your
22 the time of trial as are motions to strike? 22 understanding?
23 MR. BRODERICK: Yes. 23 A. Yes.
24 MS. KINGSTON: 30 days to read and 24 MS. KINGSTON: So, Mr. Broderick,

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1 sign? 1 our kind of understanding here is that if

2 MR. BRODERICK: Yes. 2 there's conversations that post-date the

3 MS. KINGSTON: And I am fine with 3 (inaudible) they are privileged. If they

4 waiving notary if you are as well. 4 predate that they are not. Are you in

5 MR. BRODERICK: Yes. 5 agreement?

6 Q. Ms. Mantha, just some general ground rules 6 MR. BRODERICK: Yes.

7 before we get started. If at any point you 7 Q. What did you do to prepare for your

8 don't understand a question that I ask just 8 deposition today?

9 please tell me and I'm happy to rephrase it. 9 A. Nothing. I put the baby down for a nap.

10 If you need a break at any point, please 10 Q. Did you review any documents?

11 tell me and I will certainly accommodate ll A. No.

12 you. 12 Q. I just want to say, if at any point you need
13 The other thing is, please try to 13 a break to attend to your child just let me
14 give audible answers. Try not to shake your 14 know. I'm happy to accommodate you.

15 head yes or no. Finally, because this is a 15 You said that you hadn't reviewed

16 virtual deposition and we are dependent on 16 any documents?

17 technology, if at any point you're having a 17 A. No.

18 technical problem, you can't hear me, can't 18 Q. Did you speak with anyone?

19 see me, just let me know and we will take a 19 A. Today, no. Yesterday, Mr. Broderick.

20 break to figure it out. Okay? 20 Q. Without getting into what you spoke to Mr.
21 A. Yes. 21 Broderick about, did you speak to anyone
22 Q. Can you please state your full name for the 22 else?

23 record. 23 A. No.

24 A. Melisa Mary Mantha. 24 Q. Did you speak to Joe Mantha?

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1 A. Yes. | A. All over Central Massachusetts. Some days,
2 Q. And when was that? 2 I travel over 100 miles between all the
3 A. This morning. 3 patients.
4 Q. Can you just tell me the general substance 4 Q. Are you generally at the same house each day
5 of that conversation? 5 or might you be at multiple houses in a
6 A. That if I wasn't done with this by 6 single day?
7 three o'clock he would have to pick up our 7 A. Multiple houses.
8 son from preschool. 8 Q. When you're traveling for work, do you bring
9 Q. Did you talk about the substance of the 9 any electronic devices with you?
10 deposition itself or just logistics? 10 A. Yes.
11 A. Just logistics. 11 Q. What are those?
12 Q. Before you were served with the subpoena in 12 A. Aphone, a tablet, a business phone.
13 this case, did you have any conversations 13 Q. Can you tell me what the, when you say
14 with Mr. Mantha's attorney? 14 phone, you mean just a cell phone?
15 A. No. 15 A. Yes.
16 Q. So the first conversation you had with 16 Q. And what type of cell phone is that?
17 Mr. Broderick was after you received the 17 A. Two iPhones, my personal iPhone and work
18 subpoena? 18 iPhone,
19 A. Yes. 19 Q. Did you have these same phones in 2019?
20 Q. Besides speaking to Mr. Mantha this morning, 20 A. Yes. My personal iPhone is the same. My
21 have you spoken to anyone else, putting 21 work iPhone was updated, upgraded at the
22 aside Mr. Broderick, about this deposition? 22 beginning of this year.
23 A. No. 23. Q. And what about the tablet?
24 Q. Did you bring any documents with you to the 24 A. Yes, that was the same.
Page 10 Page 12
1 deposition? 1 Q. And what type of tablet was that?
2 A. My license. 2 A. I think it's an Android.
3 Q. And nothing else? 3 Q. Is that for personal use?
4 A. No. 4 A. No.
5 Q. Are you currently employed? 5 Q. That's for work?
6 A. Yes. 6 A. Yes.
7 Q. And where do you work? 7 Q. And is it work issued?
8 A. I'ma home care nurse. 8 A. Yes.
9 Q. How long have you -- strike that. 9 Q. And is the cell phone for work also work
10 Who is your employer? 10 issued?
11 A. VNA Care out of Worcester. 11 A. Yes.
12 Q. How long have you been with them? 12 Q. Do you bring, besides these three devices,
13. A. Almost seven years. 13 do you bring any other devices with you?
14 Q. And that whole time you've been a home care 14 A. No.
15 nurse? 15 Q. So, Mr. Mantha, I know it might be strange
16 A. Yes. 16 for you to hear that, but just for the
17 Q. What does that job generally entail? 17 record that's the easiest way for me to
18 A. I travel from home to home visiting patients 18 identify him. You understand when I say
19 usually who have Just gotten out of the 19 that I mean your husband, right?
20 hospital after an illness or surgery. 20 A. Yes.
21 Q. And did you have the same job in 2019? 21 Q. So Mr. Mantha has been deposed in this case
22 A. Yes. 22 twice. Is that your understanding?
23 Q. How far do you typically travel for this 23 A. Yes.
24 job? 24 Q. Did you speak with him before either of

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1 those depositions about the depositions? 1 A. Live with us, no. Sleep over, occasionally.
2 A. That they were happening, yes. 2 Q. Let's go back to 2019. Do you recall if
3 Q. Beyond that, did you discuss them? 3 anyone stayed even a night?
4 A. Details, no. 4 A. Yes. Well, at the end of the year we had
5 Q. So you just kind of knew they were happening 5 visitors because we had a baby. So in
6 and that was pretty much it? 6 December, I had my sister here.
7 A. Yes. 7 Q. What's her name?
8 Q. I think you said that you spoke with him 8 A. Bridget Correa.
9 before this deposition but just about 9 Q. What was the last name?
10 logistics? 10 A. Her name is Bridget Correa. But she
11 A. Yes. ll normally lives in Florida.
12 Q. So you didn't talk about any of his claims 12 Q. So she was visiting to kind of help out with
13 or kind of the factual circumstances of 13 the kids?
14 them? 14 A. Just visiting, yes, to meet the new baby.
15 A. Lonly know a few details about this case; 15 Q. Besides her, do you recall anyone else
16 and that is that he was solicited for 16 staying a night or longer?
17 insurance and didn't ask for somebody to 17 A. Not that I can think of.
18 contact him. And so he, I guess, is 18 Q. Do you have anyone come into the home to
19 involved in this case about that. Which has 19 help with child care?
20 been going on for however long, but we live 20 A. My mother.
21 pretty busy lives so this is something 21 Q. Was that also happening in 2019?
22 that's like not for me to deal with so I 22 A. I'm actually not sure because there was a
23 just don't really, not to be rude or 23 time when my son was only going to preschool
24 anything, not that I don't care, but it's 24 and daycare and we didn't need her to come.
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1 just that we are busy enough so this is 1 I just don't know when it ended and when it
2 something he deals with and we don't really 2 picked up again. So I'm not sure.
3 talk about it. 3 Q. Do you recall at any point in 2019 that she
4 Obviously because now I'm involved 4 began coming over?
5 so now I have to be deposed. But really the 5 A. She comes over the house at least once a
6 only talking about it is, you have to be 6 week anyway.
7 deposed so make sure you're ready, make sure 7 Q. Just to visit or for child care?
8 you sign on, who is going to get the kids. 8 A. Both.
9 Things like that. 9 Q. But do you know -- strike that.
10 Q. Where do you currently reside? 10 Right now, how often is she coming
11 A. In Rutland, Massachusetts. 11 over to help with child care?
12 Q. And what's the address? 12 A. Two times a week.
13. A. 38 Vista Circle. 13. Q. Do you know when that started?
14 Q. And who currently, who lives with you? 14 A. Well, this year she started coming three
15 A. Mr. Mantha, my husband, and our two 15 times a week in June or July because we
16 children. Actually, in 2019 we only had one 16 couldn't get our kids into, or maybe even
17 child. 17 May, because of Covid, and then since things
18 Q. And how long have you resided there? 18 have reopened she's been able to back off to
19 A. Six years, I think, almost. 19 two times a week. Then starting next week,
20 Q. So some time in 2014 you moved in? 20 actually, she only comes once a week.
21 A. Yes. 21 Because our daycare has reopened and the
22 Q. And did you purchase at that time? 22 preschool has reopened.
23 A. Yes. 23 Q. Do you recall if she was coming over to help
24 Q. Has anyone ever visited or stayed with you? 24 at the end of 2019?
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1 A. Thad our baby in November so I was out of 1 Q. So you said, you mentioned earlier that you

2 work and so we didn't need anyone to come 2 have a personal iPhone; is that right?

3 and watch the children, but, of course, she 3 A. Yes.

4 came to visit. 4 Q. As that's the same one you had in 2019?

5 Q. What about prior to November, you had one 5 A. Yes.

6 child, would she have been coming to help 6 Q. Does your husband ever use your phone or

7 then or was it just when you had the second 7 borrow your phone?

8 child? 8 A. No.

9 A. In November, I'm going to say no, she didn't 9 Q. Even if, you know, you're sitting at home

10 come because I know our son was in preschool 10 and his battery died, he doesn't just grab

11 pretty regularly. 11 your phone for a moment?

12 In October probably the same. 12 A. No.

13 August -- over the summer she likes to 13. Q. Do you recall him ever using your personal

14 travel to Maine so she doesn't come as much. 14 cell phone?

15 I just can't remember, I mean, she comes, 15 A. Never.

16 even if she doesn't come to watch the kids 16 Q. Do you have it password protected?

17 during the day while we're working she will 17 A. Yes.

18 come so we can get dinner or something here 18 Q. Does he know your password?

19 and there. She's a pretty regular part of 19 A. No. It's got security settings on it

20 our life. 20 because it also has my work e-mail on it so

21 Q. Does she live in the area? 21 it's always password protected and the

22 A. Yes, 22 password is always changing.

23 Q. Besides your sister and your mom, did any 23 Q. Your husband has a personal iPhone as well;

24 other family members visit your home in 24 is that right?
Page 18 Page 20

1 2019? 1 A. Yes.

2 A. I'msure many did for short periods of time 2 Q. Do you know if he had the same one in 2019?

3 on various days. 3 A. I believe, yes.

4 Q. No overnight visits or anything like that, 4 Q. Did you get your iPhones at the same time?

5 just sporadic? 5 A. Yes. Well, no. I don't know if we got them

6 A. (Witness nods head.) 6 exactly the same time but I think in the

7 Q. Okay. 7 same year, and we've had both of our phones

8 A. No. I shook my head. 8 for several years.

9 Q. How many people, I know it's difficult to 9 Q. And do you ever use his cell phone?

10 say, but how many people would you

11 approximate came into your home in 2019
12 family-wise?

13. A. Seven, LO.

14 Q. And those are all immediate family members?
15 A. What do you consider immediate?

16 Q. Parent, brother, sister, that type of thing,
17 of either you or Mr. Mantha?

18 A. Yes.

19 Q. Can you tell me who?

20 A. Well, my husband's father and his wife. My
21 husband's brother and his girlfriend and

22 their stepson and son. And on my side it's

23 really just my mom and dad. And then my
24 sister from Florida briefly.

10 A. Never.
11 Q. Do you recall an instance in which you've
12 ever used it?

13. A. Never.

14 Q. Do you know if his is password protected?
15 A. Yes.

16 Q. Do you know the password to it?

17 A. No.

18 Q. I just want to talk a minute about some of

19 the electronic devices that you have in the

20 home. I know you mentioned your personal
21 iPhone, Mr. Mantha's personal iPhone and
22 then you also mentioned a work iPhone and a
23 work tablet; is that right?

24 A. Yes.

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1 Q. Can you tell me any other electronic devices 1 A. No.

2 that you have in the home? 2 Q. Is that password protected?

3 A. We have a personal tablet and two personal 3 A. Yes.

4 laptops. 4 Q. And who knows the password to that?

5 Q. What type of tablet is that? 5 A. Me.

6 A. An iPpad. 6 Q. Just you?

7 Q. Did you have that in 2019? 7 A. Yes. And I'm sure I've shared it with my

8 A. Yes. 8 husband but he doesn't remember and would

9 Q. Is that password protected? 9 ask me if he, but he doesn't use my laptop

10 A. Yes. Until January of this year, I took 10 because it's too slow.

11 the password off because our son uses it. 11 Q. Is that similar for his laptop, it's
12 Q. Prior to January of this year it was 12 password protected and he knows the password
13 password protected? 13 to that?

14 A. Yes. 14 A. Yes.

15 Q. And who would have known the -- strike that. 15 Q. And so you would, fair to say, you probably
16 Who knew the password to the iPad? 16 don't know the password to that?

17 A. Meand my husband. 17 A. No.

18 Q. And how is that iPad generally used? 18 Q. So besides the iPad, the two laptops, his

19 A. Mostly for my son if we put a movie on it or 19 cell phone, your cell phone and your work
20 something. 20 cell phone and your work tablet, are there
21 Q. What about last year? 21 any other devices that you use in the home?
22 A. Same. 22 A. No.
23 Q. Do you or your husband ever use that for 23 Q. And is that also the case for 2019?
24 your personal use? 24 A. Yes.

Page 22 Page 24

1 A. No. 1 Q. Does your husband ever do work from home?
2 Q. So is that iPad is solely for your son? 2 A. Yes.

3 A. Yes. It's very old. 3 Q. Let's talk pre-Covid because Covid changed
4 Q. Do you recall ever using it for personal 4 everything for everyone. Did he work from

5 use? 5 home at all before Covid?

6 A. Probably more than four or five years ago. 6 A. No.

7 Q. You also mentioned two laptops. Can you 7 Q. Does that include working from home in the
8 tell me what type of laptops those are? 8 evenings?

9 A. They are both Dell laptops. 9 A. He doesn't work from home but he will

10 Q. Did you have both of those last year? 10 occasionally get a follow-up call if an

11 A. Yes. 11 emergency happens or something.

12 Q. And how do you use those laptops? 12 Q. Do you know if he, referring to 2019

13. A. luse mine mostly for uploading and editing 13 specifically, do you know if he was able to

14 photos. And my husband uses his mostly to 14 access work e-mails from home?

15 do schoolwork. 15 A. Probably.

16 Q. Is he in school currently? 16 Q. I'msorry?

17 A. He's taking a break, but, yes, he's, I 17 A. Onhis phone probably.

18 guess, currently in school still. 18 Q. Have you ever seen him responding to work
19 Q. Have you ever used the one that he uses for 19 e-mail from home?

20 school? 20 A. Sure.

21 A. Ihave on maybe two occasions to upload my 21 Q. Has he ever mentioned doing that?

22 photos because my laptop is getting full. 22 A. I'mnot sure.

23 Q. What about, does he ever use the one that 23. Q. You're not sure, you don't recall an

24 you use for your pictures? 24 instance?

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1 A. Ifhe's on his phone he could be doing a 1 Q. So we're talking about when he's at home
2 number of things. We don't like necessarily 2 kind of off work hours; is that fair?
3 about what he's doing. So he could be 3 A. Yes.
4 responding to e-mails. He could be doing 4 Q. And how often would you say that you observe
5 fantasy sports. He could be talking to 5 that?
6 somebody. 6 A. Couple times a week.
7 Q. Who is your Internet service provider? 7 Q. It sounds like it's not unusual for him to
8 A. Itis Charter. 8 take some work calls in the home?
9 Q. That was the same in 2019; is that correct? 9 MR. BRODERICK: Objection.
10 A. Yes. 10 A. True.
11 Q. Does your husband have a work laptop? 11 Q. What about the weekends?
12 A. Ithink so. I think he brought it home 12 A. Oceasionally. I think, he switches, I
13 before but barely. 13 think, he gets calls like, somebody else
14 Q. So he has a laptop at work that he sometimes 14 takes calls on-call issues and then if they
15 brings home? 15 can't handle it they will occasionally call
16 A. I guess, I can't say sometimes. I know I've 16 him for like more insight.
17 seen it but not recently and not often, so I 17 Q. Can you give me an idea of how frequently
18 don't remember when. 18 that happens?
19 Q. But you know that to be his work laptop? 19 A. Couple times a week. Like the same thing.
20 A. I can't say that it's his own personal work 20 Q. Is he ever on-call?
21 laptop either. I just know perhaps have 21 A. I don't think he's specifically on-call,
22 seen him bring, I have seen him bring one 22 it's just if the on-call person can't handle
23 home but I just don't know when and if it's 23 what's happening then they call him.
24 his own like that he uses only. 24 Q. Are they calling your home phone or his cell
Page 26 Page 28
1 Q. But it's coming from the school in some 1 phone?
2 respect; is that accurate? 2 A. We don't have a home phone.
3 A. Yes. 3 Q. So they're calling his cell phone?
4 Q. When is the last time you saw him with that? 4 A. Yes.
5 A. Idon't know. I don't know if it was, it 5 Q. I think you used the word emergency use as
6 definitely wasn't this year. I don't know, 6 well. Is that when something is happening
7 Q. Do you recall seeing it last year? 7 at the school and he's at home but they need
8 A. Idon't know. 8 his input?
9 Q. You mentioned that your husband sometimes 9 A. Yes.
10 receives follow-up calls related to work? 10 Q. And do you recall any specific instances of
11 A. Yes. 11 that happening?

12 Q. Can you tell me a little bit more about

13 that?

14 MR. BRODERICK: Objection.

15 Q. Well, what do you mean by follow-up calls?
16 A. He could get a call -- I mean, I'm not sure.

17 I don't know exactly what you're talking

18 about. Occasionally he will get a call and

19 it's somebody at work.

20 Q. And how do you know that it's someone at
21 work?

22 A. Imean, I can just tell if he's referring to

23 a kid or something that sounds like it has

24 to do with work.

12 A. Recently, no. With Covid starting and
13 questions about how to handle certain

14 things, perhaps a couple of calls.

15 Q. I'msorry, I cut you off. A couple calls
16 per week?

17 A. Acouple of calls total.

18 Q. Related to emergency?

19 A. Yes.

20 Q. Okay. Do you recall an instance of one of
21 the students running away?

22 A. Yes. I mean, | think, kids run away

23 occasionally so there's probably been

24 several instances.

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1 Q. Do you recall him having to deal with that

2 kind of after official work hours?

3. A. Probably.

4 Q. Do you have any specific memories of that

5 happening?

6 A. Idon't.

7 Q. How did you find out about that?

8 A. I probably heard him get a call.

9 Q. Is he getting a call typically from one of

10 the people who works underneath him?

11 A. Yes.

12 Q. Do you know their names?

13. A. I may have heard some of their names, like

14 their first names, yes.

15 Q. You overheard that when he was talking on
16 the phone?

17 A. Yes.

18 Q. Have you ever heard that the Perkins School
19 has an on-call (inaudible)?

20 A. No.

21 Q. Are you aware at some point during this case
22 that some of the electronic devices from

Zz

1 A. No.

2 Q. Did he mention anything to you about his
3 browser search history being deleted or not
4 preserved?
5

6

7

Zz

A. No,

Q. Do you know for either of the laptops the
browser searches for those?

8 A. Ido not know.

9 Q. Have you ever deleted anything off of the

10 laptops for any reason?

11 A. No.

12 Q. Do you know if your husband has?

13. A. Not that I'm aware of. He's usually not as

14 tech savvy as me so he probably asked me for

15 help if he was going to do something with

16 the laptop other than schoolwork.

17 Q. I think, I asked you this. But you're not

18 sure how far back the browser search history
19 goes on either of those laptops; is that
20 right?

21 A. Correct.
22 Q. Is anyone able to access any of these

23 your home were scanned or imaged? 23 devices besides you and/or your husband?
24 A. Yes, 24 A. No.
Page 30 Page 32
1 Q. And do you recall that happening? 1 Q. I know you mentioned your son is now able to
2 A. Yes. 2 access the iPad. But besides him, is there
3 Q. And do you know which of those devices were 3 anyone else?
4 scanned? 4 A. No.
5 A. Both laptops. 5 Q. Do you know someone named Stephen Novia?
6 Q. So that includes the laptop you said you use 6 A. Yes.
7 for pictures? 7 Q. And who he is?
8 A. Yes. 8 A. A good family friend.
9 Q. And do you know if anything else besides the 9 Q. When you say family, you mean your husband
10 laptops were scanned? 10 and you?
11 A. I'm not sure. 11 A. Yes; and our kids, and our son.
12 Q. Do you know if your personal iPhone was 12 Q. How did you come to know him or meet him?
13 scanned? 13. A. When I met my husband, he's a very good
14. A. No, my personal iPhone was not. 14 friend of my husband's from childhood, so
15 Q. What about the iPad, do you know if that was 15 I've known him for as long as I've known my
16 scanned? 16 husband.
17 A. I'mnot sure. Not that I know of. 17 Q. They grew up together?
18 Q. What if anything did your husband tell you 18 A. Yes.
19 about that? 19 Q. Where did your husband grow up?
20 A. Just that they were looking to see if he 20 A. Holden.
21 solicited for the insurance that he was 21 Q. Do you recall having a cookout or barbecue
22 solicited for. 22 in the summer of 2019?
23 Q. Do you recall if he had looked at his 23 A. Yes, maybe.
24 browser search history before that happened? 24 Q. Specifically thinking of one where Steve

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1 Novia was there? 1 A. No.

2 A. Yes. 2 Q. Have you had heard the term TCPA?

3 Q. So you do recall that specific cookout? 3 A. No.

4 A. Yes, I mean, it wasn't a cookout. He just 4 Q. You've never heard that before?

5 came to hang out. 5 A. No.

6 Q. I'm trying to think of a better work for it 6 Q. Do you remember Mr. Novia talking about
7 besides cookout. We can just use cookout 7 illegal telephone calls or text messages?

8 for now. 8 A. No.

9 Do you recall when that was? 9 Q. Did you hear him talking to your husband
10 A. I don't remember specifically. I just 10 about anything related to telephone calls at
11 remember that it was mostly like you haven't 11 all?

12 seen us ina while come visit and swim and 12 A. No.

13 have lunch or whatever we had that day. 13. Q. Were there portions of that visit when they
14 Q. This was at your house? 14 were speaking and you weren't within

15 A. Yes. It was a hot day. 15 earshot?

16 Q. I'm sorry, I missed what you said. 16 A. Not that I can think of.

17 A. It was a hot summer day, so, yes, | 17 Q. So your husband testified that he had a

18 remember. 18 conversation with Mr. Novia about what's
19 Q. And was anyone else there? 19 called the TCPA. Has he ever spoken to you
20 A. No. Just me and my husband and our son. 20 about that?
21 Q. And do you think this was in the summer of 21 A. Not that I can think of.
22 2019? 22 Q. Did he ever tell you about this conversation
23 A. Yes. 23 that he had with Mr. Novia?
24 Q. Do you know the approximate month? 24 A. No.

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1 A. Idon't remember. I think maybe later in 1 Q. Okay. I think you said that what you know

2 the summer because the pool was warm, very 2 about this case is that your husband was

3 warm, and we were swimming. 3 solicited for insurance; is that accurate?

4 Q. Do you recall the time period when your 4 A. Yes.

5 husband received the text from QuoteWizard? 5 Q. When did you first hear about this?

6 A. No. 6 A. Maybe in the spring of this year.

7 Q. Do you know if this, if Stephen Novia coming 7 Q. Spring of this year?

8 over to your house was before or after that? 8 A. Yes.

9 A. Ido not know, no. 9 Q. So you don't recall hearing about this in

10 Q. Is there any way to figure out when you had 10 2019?

11 Stephen Novia over? II A. Not that [ can remember.

12 A. I might be able to look back for pictures. 12 Q. And how did it come up in the spring of

13 No, because I don't think I took any 13 2020?

14 pictures of him when he was here so I don't 14 A. Well, since we spent a little more time

15 know. 15 together from Covid, he probably was just

16 Q. Do you recall, I wish I could give you a 16 telling me if I can remember like that he

17 better term than cookout but it's just easy. 17 was involved in a lawsuit.

18 A. Visit. 18 Q. So this was after he filed the lawsuit?

19 Q. I'm sorry? 19 A. Idon't know. What transpired was probably,

20 A. Visit. 20 I was solicited for insurance and I'm

21 Q. We'll use visit. 21 involved in a lawsuit about it. Then that's

22 Do you remember at that visit 22 about it.

23 Stephen Novia talking to your husband about 23 Q. Do you remember hearing anything before the
24 the Telephone Consumer Protection Act? 24 time that he filed the lawsuit? Like did he

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1 say that I'm planning on filing a lawsuit, 1 Otherwise, I don't remember this specific
2 I'm hiring an attorney? 2 situation being discussed.
3 A. No. 3 Q. Can you recall other times that either you
4 Q. Did he tell you, I was sent these text 4 or your husband received telephone calls or
5 messages that I didn't ask for, did he say 5 text messages that weren't, in your word,
6 anything like that? 6 solicited?
7 MR. BRODERICK: Objection. 7 A. Specifically -- myself probably just like
8 A. Possibly. I mean, honestly, until now, I 8 last week, I answer my phone just in case,
9 didn't even think, the thought of this 9 like it's a number I don't know but it's an
10 lawsuit going on like was never in my head 10 emergency from a family member or my son or
ll until, Oh, it's really happening because now 1] something like that, so I answer most
12 I have to be a part of it. 12 numbers, and I do keep getting one from like
13 Q. So this is just not something that he has 13 a Chinese woman.
14 spoken to you about? 14 Q. What about your husband?
15 A. Correct. 15 A. Recently he hasn't said anything.
16 Q. Do you remember when he first mentioned an 16 Q. Has he ever complained about receiving these
17 attorney? 17 unsolicited communications?
18 A. Ido not. I mean, obviously recently 18 MR. BRODERICK: Objection.
19 because I'm involved. But prior to this 19 A. I can't think of a specific time. But I'm
20 week or this past month, I'm not sure. 20 sure, like I said, it happens so frequently
21 Q. [just want to make sure I'm understanding. 21 to me I'm sure in passing we kind of said,
22 You can't remember any conversations from 22 Oh, I got a silly call or whatever, like I
23 2019 that you had with your husband about 23 just said.
24 this? 24 Q. Were you surprised to learn that he was a
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1 A. No. 1 plaintiff to a lawsuit?
2 Q. So the first kind of memory you have of this 2 A. Atthe time I didn't give it any thought.
3 is the spring of this year? 3 It didn't seem like anything was really
4 A. Not even areal conversation. Like just 4 happening until now, now I'm like surprised
5 this is going on. Kind of like this is kind 5 that this is what we're doing.
6 of silly it's like what you see on TY. 6 Q. And do you understand that this is a
7 Have you been -- I don't know. 7 proposed class-action on behalf of other
8 Both of us kind of thought -- it just seemed 8 consumers as well?
9 kind of like not a big deal. I have been 9 MR. BRODERICK: Objection.
10 solicited for insurance and I'm, you know, 10 A. I guess, I don't know -- he hasn't talked
11 pursuing it. And that's it. ll about other people being involved.
12 Q. Do you know why he's pursuing it? 12 Q. Just going back to Stephen Novia for a
13. A. I mean, it's annoying that you're constantly 13 moment. What I take from your testimony is
14 being solicited for anything so. 14 that you don't remember him and Mr. Mantha
15 Q. Did he ever mention to you that he had 15 talking about anything even remotely related
16 received these text messages and he was 16 to unsolicited text messages at this visit,
17 annoyed by them? 17 right?
18 A. Not that I can remember specifically about 18 A. Right.
19 this. But, I mean, you get calls and texts 19 Q. It was kind of just like normal friend
20 and things from different things constantly. 20 discussion?
21 I can think of an occasion where I would be 21 A. Yes.
22 like, you know, I got a silly call from New 22 Q. And you didn't hear the word TCPA or
23 York today. It's like how do they call my 23 Telephone Consumer Protection Act or you
24 phone. You know, something like that. 24 didn't hear anything about lawsuits; is that
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1 correct? 1 heard it?
2 A. Not that I can think of or remember. 2 A. I mean, I guess, I didn't even believe that
3 Q. What about attorneys or legal demands or 3 we were involved in a lawsuit until now. So
4 things like that? 4 I just took it, I mean, because prior to now
5 A. No. 5 anything that he did about this I never saw.
6 Q. Are you aware if Stephen Novia has ever 6 There was never him going anywhere. There
7 filed a lawsuit or served a legal demand? 7 was never like any phone calls or
8 A. Tam not. 8 conversations. So it was like, I'm involved
9 Q. Were you aware -- strike that. 9 in this but like I never see or hear of it
10 Are you aware that Mr. Novia was 10 so, it's almost like I don't really believe
11 represented by the same attorney as your ll it or it's not really happening, it's just
12 husband? 12 not part of my mindset.
13. A. Iam not. 13 So whenever I knew that Steve had,
14 Q. Were you aware that Mr. Novia recommended 14 I guess, been a part of something similar
15 his attorney to your husband? 15 it's almost like the same thing, a part of
16 A. [Tam not. 16 what, like what are we even doing. I don't
17 Q. So your husband never mentioned any of this 17 even see or hear or know of anything going
18 to you prior to filing a lawsuit? 18 on.
19 A. I don't know that he mentioned -- he 19 Q. Do you know if Stephen Novia ever got money
20 mentioned that Stephen Novia did something 20 relating to that?
21 similar, but I don't know any of those 21 A. Idon't know.
22 details, who, what, when, where. 22 Q. You don't know either way?
23 Q. When you say did something similar, what do 23 A. Idon't know.
24 you mean? 24 Q. Okay. Did your husband ever mention
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1 A. Like was solicited, received solicited calls 1 something like, you know, Stephen Novia was
2 or texts or something and pursued it. 2 able to get money because he received
3 Q. When did your husband mention that? 3 unsolicited communications?
4 A. I'm not sure. 4 A. Idon't know.
5 Q. Can you give me -- was it this year? 5 Q. Your husband never mentioned anything like
6 A. Yes. 6 that to you?
7 Q. Some time in the spring or after? 7 A. Not that I can remember.
8 A. Yes, probably. 8 Q. Do you know if Stephen Novia ever received
9 Q. Was that in connection with your husband 9 money relating to that?
10 telling you, hey, I'm a plaintiff in a 10 A. I'm not sure.
11 lawsuit? 11 Q. I think you testified that the first time
12 A. Idon'tremember. I mean, to be honest, I 12 you heard about QuoteWizard texting your
13 don't even like specifically remember a time 13 husband was in the spring of this year; is
14 when he sat down and said, hey, I'm a 14 that right?
15 plaintiff in a lawsuit. I just know, I just 15 A. Yes.
16 vaguely knew that it was happening until, 16 Q. Not to belabor the point, but can you just
17 like I said, now I'm a part of it so now I 17 tell me what he told you at the time?
18 know it's happening. 18 A. Ican't remember a specific conversation, I
19 Q. When he mentioned Stephen Novia doing 19 just know at some point prior to now he said
20 something similar, did you take that to mean 20 he was involved in, or that he had been
21 filing a lawsuit? 21 solicited for insurance that he didn't ask
22 A. I mean, no, not until now, I guess. I 22 for and he was pursuing it.
23 guess, it could mean anything. 23 Q. Do you recall when your husband hired
24 Q. What did you take that to mean when you 24 attorneys?

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1 A. Ido not know when. 1 A. Okay.

2 Q. Have you ever heard of the website 2 Q. I'm just going to show you, there's two

3 Snappyautoinsurance.com? 3 pages. I'm going to show the second page of

4 A. No. 4 this. Let me know when you're all set.

5 Q. Have you ever heard of it before today? 5 A. Okay.

6 A. Not that I can think of. 6 Q. I know you have not seen these before today,

7 Q. Has anyone ever asked you if you went on to 7 but you see here that your husband, in fact,

8 that website at any point? 8 was responding to the text, correct?

9 A. I guess not, no. 9 MR. BRODERICK: Objection.

10 Q. Had you ever been to that website? 10 A. I guess, if that's him in the green.

11 A. No. 11 Q. I'llrepresent to you that that is him in

12 Q. Do you know if your husband has ever visited 12 the green and this is a copy of the

13 it? 13 exchange. So anything in the gray is

14 A. Not that I'm aware of. I believe we've had 14 QuoteWizard and anything in the green is

15 the same insurance for a long time. 15 your husband.

16 Q. Do you know what that is? 16 A. Okay.

17 A. I don't, because he takes care of that. 17 Q. Having seen these for the first time are you

18 Q. Have you ever shopped for auto insurance 18 surprised that your husband was responding?

19 quotes? 19 MR. BRODERICK: Objection.

20 A. No. I mean, when I was younger probably, 20 A. I don't know that, ] mean, I guess. I don't

21 but in the past 10 years, no. 21 know. I don't feel any way about it.

22 Q. I'm going to show you what's been previously 22 Q. I know you mentioned earlier that you and

23 been marked as an exhibit in your husband's 23 possibly your husband receive a lot of

24 deposition but I'm not going to mark it here 24 unsolicited communications; is that
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1 unless, Ted, you have objections to that? 1 accurate?

2 MR. BRODERICK: No. 2 A. I'd say, I mean, frequently.

3 Q. Okay. It's already been marked in Joe 3 Q. I'm sorry, I cut you off.

4 Mantha's deposition. I'm going to use the 4 A. I said frequently. Probably once a week at

5 sereen share so just bear with me for a 5 least for me. I don't know about him. I

6 moment. 6 know he does because we probably talked

7 Can you see that all right? 7 about it before.

8 A. Yes. 8 Q. Have you ever received in text message form?

9 Q. I'm showing you what was previously marked 9 A. Yes.

10 as Exhibit 12 at your husband's deposition. 10 Q. Have you ever responded?

11 I'm going to try and give you a full view so 11 A. I probably have and then once I realized,

12 you can see. 12 because I think that people don't always,

13 Can you see that all right? 13 didn't always do this through text, so once

14 A. Yes. 14 I realize that they solicit you through text

15 Q. So this is a portion of the text message 15 now I don't respond anymore.

16 exchanged between your husband and 16 I can't think of a specific time,

17 QuoteWizard. Have you ever seen this 17 but I can imagine if I was caught off guard

18 before? 18 and didn't realize that somebody would

19 A. No. 19 solicit me through text and J might response

20 Q. He's never shown you copies of the texts? 20 who are you, what do I do.

21 A. No. 21 Q. And that would be because you didn't know

22 Q. I'm just going to scroll down so you can see 22 who was contacting you?

23 it. Let me know when you've kind of 23 MR. BRODERICK: Objection.

24 reviewed it. 24 A. Forme personally, I guess, J don't know.

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l IfI got these texts, I mean, I might 1 deposition is at whatever time, I don't

2 respond. 2 know.

3 Q. Why is that? 3 Q. Okay. Besides this week you can't recall

4 MR. BRODERICK: Objection. 4 any other e-mails or texts that you would

5 A. Because somebody is texting me and I don't 5 have sent?

6 realize that it's like, I don't know, a trap 6 A. No.

7 kind of. I don't know. 7 Q. I'm going to stop screening sharing

8 Q. The reason I'm asking is because your 8 Exhibit 12.

9 husband says here, how do I get a quote. 9 Do you recall your husband, and

10 And this is a portion of the text messages. 10 right now I'm specifically talking about the

11 I want to be clear about that. He's saying 11 text messages from QuoteWizard. Do you

12 here, how do I get a quote. Do you see 12 recall your husband ever saying that he was

13 that? 13 annoyed, or something to that effect, by

14 A. Yes. 14 these text messages?

15 Q. Do you know if he was searching for auto 15 MR. BRODERICK: Objection.

16 _— insurance quote in 2019. 16 A. Specific ones, no.

17 MR. BRODERICK: Objection. 17 Q. And specifically about these text messages,

18 A. Not that I'm aware of. He didn't tell me he 18 do you recall him saying anything like, you

19 was. 19 know, this was a waste of my time, or

20 Q. Do you know why he would say, how do I get a 20 invasion of privacy, or something like that?

21 quote? 21 MR. BRODERICK: Objection.

22 MR. BRODERICK: Objection. 22 A. Not that I can remember.

23 A. Is there a message before how do I get a 23 Q. I think, you said that you never seen the

24 quote? 24 text messages that are part of this lawsuit
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1 Q. This is part of a text message exchange, 1 before I just showed you a portion; is that

2 yes, and I'm just asking you based off this 2 right?

3 document. 3 A. Correct

4 MR. BRODERICK: Objection. 4 Q. Do you know anyone who drives a Chevy

5 A. The person, I mean, there must be a text 5 Trailblazer?

6 before that so he must be responding to a 6 A. No.

7 text before that. 7 Q. What about a Chevy Silverado?

8 Q. It's just based on what you know. I'm just 8 A. Not that I can think of.

9 asking you if you know why he would have 9 Q. I'm going to represent to you that -- strike

10 responded that way? 10 that.

11 MR. BRODERICK: Objection. 11 It's QuoteWizard's position in this

12 A. IfI know -- I don't know why he would 12 lawsuit that either your husband or someone

13 respond that way. I imagine he was texted 13 purporting to be your husband gave consent

14 and he responded so. 14 to be contacted. Do you have any knowledge

15 Q. Have you ever had any e-mail communications 15 of that?

16 with your husband about this lawsuit? 16 MR. BRODERICK: Objection.

17 A. No. 17 A. No.

18 Q. Have you ever had any text messages with 18 Q. Do you have any reason to believe anyone

19 your husband about this lawsuit? 19 would have entered his information for him

20 A. Not that I can think of. 20 or purporting to be him?

21 Q. To your knowledge, the only conversations 21 A. No.

22 would have been in person? 22 Q. Has your husband ever mentioned the website

23 A. I mean, yes, like I said. I don't know if 23 Snappyautoinsurance.com?

24 we texted like this week about, hey, your 24 A. No.

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1 Q. My next series of questions, we're going to 1 A. Like a couple times a week. Like, if he

2 talk pre-Covid in 2019. What was your 2 gets a call about an issue that surpasses

3 husband's normal workday, the hours? 3 the usual on-call person then maybe he might

4 A. Like 8:00 to 5:00. 4 hear what the person is saying and then like

5 Q. Does he work weekends? 5 make a call a couple of minutes later, an

6 A. No, not usually. 6 hour later, to follow-up.

7 Q. Did he sporadically work weekends around 7 Q. What type of issues would that generally

8 this time? 8 entail? Is this where there's a student

9 A. No. 9 having an issue or is it employee related?
10 Q. Has he ever worked a weekend? 10 A. It could be like too many call-outs or a

11 A. I don't know that it's work, but if there's 11 student is having a major issue, not just

12 like the kids' graduation, I know he's 12 any issue.

13 attended that. It's usually on a Saturday. 13. Q. Call-outs, you mean like when an employee
14 Q. We mentioned a little bit before about your 14 calls out sick?

15 husband getting work calls on his cell 15 A. Correct.

16 phone. Do you remember that? 16 Q. Andis your husband responsible for kind of
17 A. Yes. 17 scheduling and reshuffling in that

18 Q. I think you said, please correct me if I'm 18 situation?

19 wrong, that it's, I think you said a couple 19 A. I don't think so. It sounds like if there

20 times a week; is that accurate? 20 are multiple and they need to get his input

21 A. Yes. 21 on what to do next then that's when they

22 Q. And that's the ones that you're observing, 22 might, usually if he has a call related to

23 correct? 23 that it sounds like there has been multiple

24 A. Correct. 24 call-outs and he's just giving his advice.

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1 Q. How long do his calls usually last? 1 If I hear him get a call about a

2 A. A minute or two, 2 call-out they are usually multiple and the

3 Q. And these are, just to clarify, these are 3 people under him have already done the

4 outside of his normal working hours; is that 4 footwork to take care of it so they are

5 right? 5 probably just calling him to say, should I

6 A. Correct. 6 put this person at this program or something

7 Q. Has he ever mentioned the ring central ap to 7 like that.

8 you? 8 Q. So these are the employees who work

9 A. Yes. 9 underneath him?

10 Q. What do you know about that? 10 A. Yes.

11 A. I think that I know it connects his office 11 Q. Do you know how many employees he is in
12 phone to his cell phone if he wants it to. 12 charge of, approximately?

13 Q. Do you know if he makes calls through the 13. A. Ihave no idea.

14 ap? 14 Q. Do you know if it's a little or a lot?

15 A. I don't know. 15 A. I think, I'd say, I would guess that it's

16 Q. Have you ever seen him make a work call 16 under 100, but I can't be sure at all.

17 through his cell phone at home? 17 Q. That's a pretty sizeable number that he's in
18 A. Havel ever seen him call work with his cell 18 charge of, right?

19 phone? 19 MR. BRODERICK: Objection.

20 Q. Any call relating to work. 20 A. It could be under 50. It's hard to say who

21 A. Have I seen him make a call related to work, 21 he is in charge of like. I don't know.

22 yes. 22 Q. Are you aware that he gets a $30 cell phone
23 Q. How frequently is he doing that outside of 23 reimbursement from work?

24 his work hours that you're observing? 24 A. I guess, I was aware that they contributed

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l to the cell phone bill just a tiny amount 1 Q. What about family besides your mom?

2 but I didn't know it was $30. 2 A. Living in Worcester, no.

3 Q. Do you know why he gets that? 3 Q. What about outside Worcester?

4 MR. BRODERICK: Objection. 4 A. Imean, yes. What do you mean?

5 A. I would assume they understand that he will 5 Q. So do you have any family members who live
6 occasionally get calls. 6 in the Worcester area but not in Worcester?

7 Q. I missed that first part of your answer. 7 A. No. Well, my mother lives in Worcester, and

8 A. I said, I assume that they realize that he 8 my husband's brother lives in town with us.

9 will occasionally get calls due to the 9 And, otherwise, those are the two most local

10 nature of the job. 10 people.
11 Q. What do you mean by "the nature of the job?" 11 Q. So your husband's brother lives in Rutland?
12 MR. BRODERICK: Objection. 12 A. Yes.

13. A. I mean, it's a school that runs 24/7 so it's 13. Q. Did you take any vacations in 2019?

14 not like he leaves at five and the doors 14 A. Yes.

15 close. 15 Q. Do you recall when? By "you", I mean, I'm
16 Q. Do you know if there's, I might have asked 16 assuming it would have been with your

17 you this and I apologize. Do you know if 17 husband.

18 there's an on-call number? 18 A. Family vacations, we took one in April.

19 A. I don't know. 19 Q. Do you recall where you went?
20 Q. Have you ever heard your husband refer to an 20 A. Yes, we went to Florida.
21 on-call number? 21 Q. Do you recall any other vacations?
22 A. I don't know that there's a number. I know 22 A. Where we all left, no.
23 there's other on-call people, so I don't 23 Q. When your husband goes on vacation because
24 know if there's like one number that gets 24 of the nature of his job, does he need to

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l people to them. I'm not aware of an on-call 1 get someone to basically cover what he

2 number. 2 usually does?

3 Q. And are you aware that your husband has ever 3 A. I don't know that he needs to find coverage

4 been on-call in 2019? 4 more than he just needs to delegate what he

5 A. As far as I know, he's not on-call. He just 5 might normally do to other people.

6 is called if the on-call person can't handle 6 Q. Does he ever get work calls when he's on

7 whatever is going on. 7 vacation?

8 Q. You reside in Rutland; is that correct? 8 A. No.

9 A. Yes. 9 Q. Is that because he just kind of pushed

10 Q. How far are you time-wise to Worcester? 10 everything off his plate?

11 A. 30 minutes, 25. 11 A. Yes.

12 Q. How often are you guys in Worcester? 12 Q. So you don't recall any other vacations or
13. A. Hardly. I guess, actually, pre or post 13 trips you took besides the one in April?

14 Covid? 14 A. Asa family, no.

15 Q. Pre. 15 Q. What about your husband, did he take any
16 A. Pre-Covid maybe once or twice a week. 16 trips?

17 Q. What type of things do you guys do there? 17. A. No. When I say that, it's just because |

18 A. Goto dinner. My mother lives in Worcester. 18 personally go visit my sister in Florida.

19 Q. I'm sorry, who lives in Worcester? 19 He didn't come. And, I think, I did that

20 A. My mom. 20 twice last year.

21 Q. And besides your mom, do you have any other 21 Q. Do you recall when you were in Florida, the
22 friends or family that live in Worcester? 22 time period?

23 A. We do, but we don't usually go to their 23 A. January and, I think, July last year.

24 houses. 24 Q. Do you remember what portion of July?

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1 A. Maybe it was June. I mean, I can't 1 A. I think so.
2 remember. I know I wasn't gone for the 4th 2 Q. What's the last residence that you know of?
3 of July holiday. But I don't remember if it 3 A. The last residence in February of 2019 he
4 was before or after that. 4 was living with his girlfriend in Spencer
5 Q. Do you know for that trip whether your 5 and they moved to Milford. I mean -- where
6 husband had any friends over when you were 6 did they move to -- Milbury, sorry.
7 away? 7 Q. Have you had any conversations with your
8 A. As far as I know, no, because he was in 8 brother about this case?
9 school for his master's so he spends a lot 9 A. Thave not spoken to my brother in over a
10 of time doing schoolwork. 10 year,
11 Q. I think you mentioned he's taking a break 11 Q. Have you ever had any conversations with
12 from that. 12 your husband about your brother relating to
13. A. He took this summer off. 13 this case?
14 Q. Okay. 14 A. No.
15 A. But he'll return next month. 15 Q. You mentioned earlier you haven't heard of
16 Q. Do you know what your husband's sort of goal 16 Snappyautoinsurance.com; is that correct?
17 out of this lawsuit is? 17 A. Correct.
18 MR. BRODERICK: Objection. 18 Q. And your husband hasn't mentioned it?
19 A. I guess not. We never really talked about 19 A. No.
20 it. 20 Q. Have you ever heard of a website called
21 Q. He's never mentioned to you what he's hoping 21 Autoinsure.com?
22 to get? 22 A. Not that I know of. Not that I can think
23 MR. BRODERICK: Objection. 23 of.
24 A. At this point, I mean, since this week has 24 Q. Had you ever heard of QuoteWizard before?
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1 come and we've both had to do this 1 A. No.
2 deposition thing he just wishes for it to be 2 Q. What about Autoinsurequotes.com?
3 over. 3 A. Not that I know of.
4 Q. You have a brother; is that correct? 4 Q. What about Unitedquotes.com?
5 A. Yes. 5 A. Not that I know of.
6 Q. What's his name? 6 Q. Just give me a moment here.
7 A. Nick. 7 How often would you say that you're
8 Q. Has Nick ever stayed with you at your 8 using -- strike that.
9 Rutland home? 9 You said you have a work cell
10 A. No. 10 phone; is that right?
11 MR. BRODERICK: Objection. ll A. Yes.
12 Q. Has he ever visited? 12 Q. Are you using that just during your working
13. A. Not recently. 13 hours?
14 Q. Do you recall the last time he visited? 14 MR. BRODERICK: Objection.
15 A. Maybe February 2019. 15 A. Yes.
16 Q. Was that just during the day? 16 Q. Same is true for your work, the tablet?
17 A. It was probably for my son's birthday. 17 A. Yes.
18 Q. Do you know what car he drives? 18 MR. BRODERICK: Objection.
19 A. Ido not. 19 Q. And those were specifically used for your
20 Q. Do you know if he owns a car? 20 ~—s working hours?
21 A. I doubt he owns a car. 21 MR. BRODERICK: Objection.
22 Q. Where does he reside? 22 A. Yes.
23 A. Currently, I don't know. 23 Q. Do you get any work reimbursements for your
24 Q. Do you know if he's in Massachusetts? 24 personal cell phone?
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l MR. BRODERICK: Objection. 1 Q. You don't recall in August of 2019 when

2 A. No. 2 these texts were sent that your husband

3 Q. Do you use your personal cell phone for 3 mentioned them to you; is that correct?

4 work. 4 A. Correct.

5 MR. BRODERICK: Objection. 5 Q. So you think the first time you heard about

6 A. I mean, maybe occasionally if I have poor 6 the text messages or this lawsuit was in the

7 service. It seems silly, but they are both 7 spring of 2020?

8 Verizon phones, sometimes my personal phone 8 A. Correct.

9 works better than my work phone AND 9 Q. Do you have an approximate month in mind?
10 sometimes my work phone works better than my 10 A. Maybe, April. I guess, I say that because

11 personal phone. 11 all I can think about in March is Covid.
12 Q. Okay. [ think you said you do not have a 12 Q. Do you remember where that initial
13 home phone; is that correct? 13 conversation took place?

14. A. Correct. 14 A. Probably in the living room on our couch.
15 Q. Was that also true in 2019? 15 Q. Do you remember any of the specific details
16 A. Yes, 16 of that?

17 Q. Do you have any reason to think that someone 17 MR. BRODERICK: Objection.

18 would have taken your husband's personal 18 A. I don't remember any details period. I

19 information and entered it on 19 don't think that there were any -- there
20 Snappyautoinsurance.com? 20 were no details to discuss. It was just a
21 MR. BRODERICK: Objection. 2) quick like this is going on.
22 A. No. 22 Q. Have you ever read the complaint?
23 Q. And you did not do that; is that correct? 23 A. No.

24 A. Correct. 24 Q. Have you ever seen a copy of it?

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1 Q. Did your husband ever mention to you that 1 A. Not that I can think of.

2 it's our position in this lawsuit that 2 Q. Have you had any conversations with the

3 either he or someone using his information 3 person who took the imaging of the devices?

4 went to that website and entered it? 4 A. No.

5 MR. BRODERICK: Objection. 5 Q. So that was just your husband who was

6 A. No. I guess, I would assume that is why we 6 interacting with him?

7 are here because he didn't, he claims -- I'm 7 A. I guess so.

8 sorry, I just heard something. He was 8 Q. Have you ever seen the imaging that was

9 solicited without his consent, and, I guess, 9 taken from the devices?

10 the thought would be that he somehow gave 10 A. No.

ll consent. 11 Q. Has anyone ever told you what's on them?
12 Q. But he hasn't, I guess, discussed the 12 A. No.

13 specifics of those issues with you? 13. Q. So your husband -- essentially you only knew
14 A. No. 14 that they were scanned but you're not sure

15 Q. Has your husband ever had to go back to work 15 what was on it or what was taken or any

16 after returning home for the day? 16 other --

17 A. No. 17 A. Yes.

18 Q. Bear with me for a moment here. 18 Q. Has your husband ever discussed that with
19 I just have a few more questions 19 you?

20 for you. I just want to be perfectly clear 20 A. Just that it was happening.

21 about the time-line. You don't recall 21 Q. Were you home for that?

22 hearing anything relevant to this lawsuit at 22 A. I don't know that I was home. I feel like I

23 that visit? 23 remember seeing the laptop on the table and

24 A. Correct. 24 then maybe going to work.

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1 Q. Okay. Do you know -- are you aware that 1 ERRATA SHEET DISTRIBUTION INFORMATION

2 Steve Novia was deposed for this lawsuit? 2 DEPONENT'S ERRATA & SIGNATURE INSTRUCTIONS

3 A. No. 3

4 Q. Your husband didn't mention that to you? 4 ERRATA SHEET DISTRIBUTION INFORMATION

5 A. Not that I can remember. 5 The original of the Errata Sheet has

6 Q. Has your husband ever mentioned -- strike 6 been delivered to Theodore Broderick,

7 that. 7 Esquire.

8 You mentioned that you and your 8 When the Errata Sheet has been

9 husband sometimes receive unsolicited 9 completed by the deponent and signed, a copy

10 communication. Have you and your husband 10 thereof should be delivered to each party of

11 ever discussed filing a lawsuit based on 11 record and the ORIGINAL forwarded to

12 those? 12. Christine Kingston, Esquire, to whom the

13 A. No. 13. original deposition transcript was

14 MS. KINGSTON: I believe those are 14 delivered.

15 all the questions I have. Bear with me for 15 INSTRUCTIONS TO DEPONENT

16 amoment here while I double-check. 16 After reading this volume of your

17 (Pause) 17 deposition, please indicate any corrections

18 Q. What did you drive in 2019, what type of 18 or changes to your testimony and the reasons

19 vehicle? 19 therefor on the Errata Sheet suppled to you

20 A. A Mazda. 20 and sign it, DO NOT make marks or notations

21 Q. What does your husband drive? 21 on the transcript volume itself. Add

22 A. A Nissan. 22 additional sheets if necessary. Please

23 Q. Do you recall renting any cars in 2019? 23. refer to the above instructions for errata

94 A. Yes. 24 sheet distribution information.

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1 Q. Do you recall when that was? | PLEASE ATTACH TO THE DEPOSITION OF;

2 A. In April when we went to Florida we rented a 2 Melisa Mantha

3. small car. I think it was a Kia Soul to 3 CASE: Mantha

4 drive from the airport. 4 DATE TAKEN: Friday, September 11, 2020

5 Q. Besides that, can you recall any other 5 ERRATA SHEET

6 rentals? 6 Please refer to page 72 for errata sheet

7 A. In July, I think, I also rented a car from 7 instructions and distribution instructions.

8 Orlando and I believe it was the same car. 8

9 Q. Did you know what the IP addresses are for 9 PAGE LINE CHANGE REASON

10 any of your electronic devices? 10

11 A. No. 1

12 Q. Has anyone ever asked you to check? 12

13. A. No. 3

14 MS. KINGSTON: Those are all the 4

15 questions I have for you. 1s

16 Ted, do you have any questions? 16 Thave read the foregoing transcript

17 MR. BRODERICK: I don't. 17 of my deposition and except for any

18 MS. KINGSTON: Thank you for your 18 corrections or changes noted above, I hereby

19 time. 19 subscribe to the transcript as an accurate

20 T will take a full and mini PDF, 20 record of the statements made by me.

2] please. 21 Executed this day of , 2020.

22 MR. BRODERICK: Same. Thank you. 22

23 (Whereupon the deposition was 23

24 concluded at 3:31 p.m.) a4 MELISA MANTHA

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